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AO 106 (Rev. 04/10) Application for a Searcli Warrant

 

 

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UNITED STATES DISTRICT C Ul»l-rl`--------1\~‘~~~~-1

for the o
Western District of Washington DEC 1 " 2018

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BY WESTERN DlSiRZCi U§ W,..)

  

In the Matter of the Search of

(Briefly describe the properly to be searched
or identl'jj) the person by name and address)

Pub|ic Storage - 4103 S. Orchard St., Tacoma,
Washington, Unit #A043 and SUBJECT DEV|CES 1-2

 

Case No. //g * 53/5

\/\/\/\/\/\/

APPLICATION FOR A SEARCH WARRANT

l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that l have reason to believe that on the following person 01 property (idennfy the person or describe the

§
§ pr%‘i§lf“c’%§’ér§§rech-FZ%”égév.edsrlar ""”’ é’@t., Tacoma Washingron unit #A043 and suBJEcT DEVICES 1-2 as further
§ described in Attachment A, Which 1s attached hereto and incorporated herein by this reference.

§

located in the Western District of Washington , there is now concealed (idennjj) the

 

person or describe the property to be seizeaDZ

See Attachment B, which is attached hereto and incorporated herein by this reference

§
§
§ The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more): t
§ l!{ evidence of a crime;

l!{contraband, fruits of crime, or other items illegally possessed;
[§{property designed for use, intended for use, or used in committing a crime;
ij a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Oj”ense Description
Tit|'e 18, U.S.C. § 2251 (a), (e) Production of Chi|d Pornography
Tit|e 18, U.S.C. § 2252(a)(4)(B) Possession of Chi|d Pornography

The application is based on these facts:

See attached Affidavit

` i!{ Continued on the attached sheet.

ij Delayed notice of days (give exact ending date if more than 30 d'ays: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

FW’

/ a Applicant ’s signature

SPEC|AL AGENT REESE BERG, HSI

Printed name and title

 

Sworn to before me and signed in my presence

Dare: 12/19/2018 j’¢l…¢‘ L /Q'n»i!(»€/

Judge\.rsl§ ature

City and state: TACOl\/IA, WASHINGTON THERESA L. FR|CKE, U.S. N|AG|STRATE JUDGE

Printed name and title
USAO# 2018R01430

 

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ATTACHMENT A
Description of Property to be Searched
The SUBJECT DEVICES, more particularly described below, which are currently
in the custody of Homeland Security Investigationsin Tacoma, Washington:
a. Western Digital HDD 160 GB, SN: WX50A5907905 (SUBJECT
DEVICE 1) v
b. MicroSD Card, 64 GB (SUBJECT DEVICE 2)

The SUBJECT LOCATION is a storage unit rented by LAMAR THOMPSON at
Public Storage ~ 4103 S. Orchard St., Tacoma, Washington (Unit # A043). The search

is to include the entirety of that storage unit, as well as any digital devices found therein.

ATTACHMENT A - 1 UNHED sTATEs ATTORNEY

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ITEMS TO BE SEIZED

The following records, documents, files, or materials, in whatever form, including
handmade or mechanical form (such as printed, written, handwritten, or typed),
photocopies or other photographic form, and electrical, electronic, and magnetic form
(such as CDs, DVDs, smart cards, thumb drives, camera memory cards, electronic
notebooks, or any other storage medium), that constitute evidence, instrumentalities, or
fruits of violations of of violations of 18 U.S.C. § 2251(a) (Production of Child §
Pornography), and 18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pornography) which
may be found on the SUBJECT DEVICES or at the SUBJECT LOCATION:

1. Any visual depiction of minor(s) engaged in sexually explicit conduct, in
any format or media or other evidence of the creation of such visual depictions.

2. ` Evidence of the installation and use of P2P software, and any associated
logs, saved user names and passwords, shared files, and browsing history;

3. Letters, e-Inail, text messages, and other correspondence identifying
persons transmitting child pornography, or evidencing the transmission of child
pornography, through interstate or foreign commerce, including by mail or by computer;

4. All invoices, purchase agreements, catalogs, canceled checks, money order
receipts, credit card statements or other documents pertaining to the transportation or
purchasing of images of minors engaged in sexually explicit conduct;

5. Any and all address books, names, lists of names, telephone numbers, and
addresses of individuals engaged in the transfer, exchange, or sale of child pornography;

6. Any non-digital recording devices and non-digital media capable of storing
images and videos.

7. Digital devices and/or their components, which include, but are not limited
to:

a. Any digital devices and storage device capable of being used to

commit, further, or store evidence of the offense listed above;

ATTACHMENT B - 1 UNITED STATES ATToRNEY

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b. Any digital devices used to facilitate the transmission, creation,
display, encoding or storage of data, including word processing equipment, modems,
docking stations, monitors, cameras, printers, encryption devices, and optical scanners;

c. Any magnetic, electronic, or optical storage device capable of
storing data, such as disks, tapes, CD-ROMS, CD-Rs, CD-RWS, DVDs, printer or
memory buffers, smart cards, PC cards, memory sticks, flashdrives, USB/thumb drives,
camera memory cards, media cards, electronic notebooks, and personal digital assistants;

d. Any documentation, operating logs and reference manuals regarding
the operation of the digital device or software;

e. Any applications, utility programs, compilers, interpreters, and other
software used to facilitate direct or indirect communication with the computer hardware,
storage devices, or data to be searched;

f. Any physical keys, encryption devices, dongles and similar physical
items that are necessary to gain access to the computer equipment, storage devices or
data; and

g. Any passwords, password files, test keys, encryption codes or other
information necessary to access the computer equipment, storage devices or data;

8. Evidence of who used, owned or controlled any seized digital device(s) at
the time the things described in this warrant were created, edited, or deleted, such as logs,
registry entries, saved user names and passwords, documents, and browsing history;

9. Evidence of malware that would allow others to control any seized digital
device(s) such as viruses, Trojan horses, and other forms of malicious software, as Well
as evidence of the presence or absence of security software designed to detect malware;
as well as evidence of the lack of such malware; _

10. Evidence of the attachment to the digital device(s) of other storage devices
or similar containers for electronic evidence;

11. Evidence of counter-forensic programs (and associated data) that are

designed to eliminate data from a digital device;

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12. Evidence of times the digital device(s) was used;
13. Any other ESI from the digital device(s) necessary to understand how the
digital device was used, the purpose of its use, who used it, and when. 4 §
14. Records and things evidencing the use of the IP address 73.53.83.83 (the
SUBJECT IP ADDRESS) including:
a. Routers, modems, and network equipment used to connect
computers to the Internet;
b. Records of Internet Protocol (IP) addresses used;
c. Records of Internet activity, including firewall logs, caches, browser
history and cookies, “bookmarked” or “favorite” web pages, search terms that the user

entered into any Internet search engine, and records of user-typed web addresses.

The seizure of digital devices and/or their components as set forth herein is
specifically authorized by this search warrant, not only to the extent that such
digital devices constitute instrumentalities of the criminal activity described above,
but also for the purpose of the conducting off-site examinations of their contents for
evidence, instrumentalities, or fruits of the aforementioned crimes.

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AFFIDAVIT
STATE OF WASHINGTON )
COUNTY OF PIERCE )

I, Reese Berg, being duly sworn on oath, depose and state:

I. INTRODUCTION AND AGENT BACKGROUND

1. 1 am an investigative or law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section 2510(7). l am currently employed
as a Special Agent with Homeland Security Investigations (HSI). I have been a federal
law enforcement officer for over 15 years. I have investigated and/or participated in
investigations involving narcotics smuggling, human trafficking/smuggling, firearms
trafficking, child pornography and child exploitation l have also held positions in law
enforcement as a Military Police Off`lcer and Military Police Investigator with the U. S.
Arrny for over 20 years. l am a graduate of the 9-week Criminal Investigator Training
Program as Well as the Immigration and Customs Enforcement Special Agent Training
program at the Federal Law Enforcement Training Center in Glynco, Georgia. I am
currently assigned as a Special Agent with HSI Seattle, where my duties include child
exploitation and child pornography investigations I have participated in more than fifty
child exploitation or child pornography investigations and have worked extensively with
other investigators involved in these types of investigations.

2. I am submitting this affidavit in support of an application under Rule 41 of
the Federal Rules of Criminal Proc`edure for a warrant to search the two digital devices
identified below and in Attachment A (the “SUBJECT DEVICES”) that are currently in
the custody of Homeland Security Investigations, and (the “SUBJECT LOCATION”)
also identified below and in Attachment A, for the things specified in Attachment B:

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a. Western Digital HDD 160 GB, SN: WX50A5907905 (SUBJECT
DEVICE 1) y

b. MicroSD Card, 64 GB (SUBJECT DEVICE 2)

c. Public Storage ~ 4103 S. Orchard St., Tacoma, Washington, Unit
#A043 (SUBJECT LOCATION)

3. The warrant would authorize a search of the SUBJECT LOCATION and
any electronic devices located as well as the SUBJECT DEVICES and forensic
examination, for the purpose of identifying electronically stored data as particularly
described in Attachment B, for evidence, fruits, and instrumentalities of violations of 18
U.S.C. § 2251(a) (Production of Child Pornography) and 18 U.S.C. § 2252(a)(4)(B)
(Possession of Child Pornography).

4. The facts set forth in this Affldavit are based on my own personal
knowledge; knowledge obtained from other individuals during my participation in this
investigation, including other law enforcement officers; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience

5. Because this affidavit is submitted for the limited purpose of establishing
probable cause in support of the application for a search warrant, it does not set forth
each and every fact that I or others have learned during the course of this investigation I
have set forth only the facts that l believe are relevant to the determination of probable
cause to believe that evidence, fruits, and instrumentalities of violations of 18 U.S.C.

§ 2251(a) (Production of Child Pornography), 18 U.S.C. § 2252(a)(2) (Receipt or
Distribution of Child Pornography), and 18 U.S.C. § 2252(a)(4)(B) (Possession of Child
Pornography), will be found on the SUBJECT DEVICES or at the SUBJECT
LOCATION.
II. DEFINITIONS
6. The following definitions apply to this Affidavit: t §

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Internet Service Providers x
a. “Internet Service Providers” (ISPS), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the
internet. ISPs provide a range of functions for their customers including access to the
Internet, web hosting, email, remote storage, and co-location of computers and other
communications equipment ISPs can offer a range of options in providing access to the
Internet including telephone based dial up, broadband based access via digital subscriber
line (DSL) or cable television, dedicated circuits, or satellite based subscription ISPs
typically charge a fee based upon the type of connection and volume of data, called
bandwidth, which the connection supports. Many ISPS assign each subscriber an account
name - a user name or screen name, an “email address,” an email mailbox, and a
personal password selected by the subscriber. By using a computer equipped with a
modem, the subscriber can establish communication with an ISP over a telephone line,
through a cable system or via satellite, and can access the Internet by using his or her
account name and personal password. ISPs maintain records pertaining to their
subscribers (regardless of whether those subscribers are individuals or entities). These

records may include account application information subscriber and billing information

~ account access information (often times in the form of log files), email communications,

information concerning content uploaded and/or stored on or via the ISP's servers.
Internet Protocol (IP) Addresses
b. “Internet Protocol address” or “IP address” refers to a unique
number used by a computer to access the Internet. An IP address looks like a series of
four numbers, each in the range 0~255, separated by periods (e.g., 121 .56.97.178). Every
computer connected to the Internet must be assigned an IP address so that the Internet
traffic sent from, and directed to, that computer may be properly directed from its source

to its destination Most ISPS control the range of IP addresses
IV. STATEMENT OF PROBABLE CAUSE

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7. On or about October 27, 2018, Tacoma Police Department (TPD) Det.
Faivre was assigned an investigation of potential Possession of Depictions of Minors
Engaged in Sexually Explicit Conduct, documented under Tacoma Police Case Report
number 1829700548. Det. Faivre reviewed the initial report taken by Police Patrol
Officer (PPO) Newbold, which indicated that on October 24, 2018, PPO Newbold was
dispatched to a place of business, McFarland Cascade located at 1640 Marc Avenue in
the City of Tacoma. PPO Newbold was responding to a report of a cell phone that was
believed to contain images of suspected depictions of minors engaged in sexually explicit
conduct.

8. PPO Newbold arrived and contacted M.D., who is the current VP of
Human Relations. M.D. advised that another employee, M.B., found a cell phone in a
work area and while going through the phone in an attempt to identify its owner,
discovered “selfie” style images of his co-worker, LAMAR THOMPSON, as well as
sexually explicit images of children M.B. gave the phone to the plant manager, J.H., who
gave the phone to M.D. M.D. then called the police. PPO Newbold was unable to
contact M.B., who had already left for the day.

9. PPO Newbold spoke with employees E.B., K.Y., and J.H.. Both J.H. and
K.Y. stated that they did not see the photos or do anything with the phone. 1 .H. reported
another employee gave him the phone and in turn he provided the phone to M.D. E.B.
reported he found the phone in the breakroom on the morning of October 22, 2018, and
the battery on the phone was dead, so he charged it to see if he could look at the phone to
determine its owner. E.B. reported that once the phone was charged, he looked through
the contacts list and located the contact information for another co-worker, whom he
referred to as “Hassani”. E.B. attempted to text “Hassani”, but the text did not go
through because the phone was not on a network. E.B. said that he then placed the phone
on the desk of his supervisor, R.B.

10. E.B. said that on the morning of October 24, 2018, he was contacted by
M.B., who had the phone and attempted to locate a “selfie” that might identify the

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phone’s owner. M.B. discovered “personal photos” of his co-worker, whom he identified
as LAMAR THOMPSON, and “disturbing photos involving children.” E.B. took the
phone from M.B., gave the phone to J.H., and reported their concerns. PPO Newbold
collected the Samsung cell phone and placed it into the property and evidence locker at
TPD Headquarters.

11. On November 7, 2018, Det. Faivre received a follow-up phone call from
M.D. asking about the status of the case. M.D. reported his intention to dismiss
THOMPSON, but he wanted to wait until the criminal investigation had been completed
Det. Faivre asked M.D. if he was able to provide any fiirther information tying the cell
phone to THOMPSGN. M.D. reported seeing selfies of THOMPSON while he was
“sticking his fingers into the vagina of a 6-year-old”. Det. Faivre asked M.D. to confirm
his observations, and M.D. stated that he “wouldn’t be able to swear'on it, I’m quite
certain, but not 100%”. M.D. reported there was another photo in which he saw the Same
female child being forced to perform oral sex on a person whomhe believed to be
THOMPSON, but that only “half of Thompson’s face was in the frame of the picture”.
Det. Faivre asked M.D. to confirm he was certain and whether he would be able to testify
to these facts before a judge. M.D. stated that he would. M.D. stated that there were
other photos and videos that clearly show THOMPSON’s face contained on the phone.

12. Using a law enforcement database, Det. Faivre located a criminal history
for LAMAR ALLEN THOMPSON, DOB XX/XX/ 1982, Who was convicted of Child
Molestation in the First Degree in 2016 in King County Cause No. l4-1-04590-1KNT
and received a Special Sex Offender Sentencing Alternative for which he served 68
months in prison and up to lifetime DOC supervision According to records from that
conviction, THOMPSON sexually abused two young girls. THOMPSON Was dating
seven-year-old VICTIM #l ’S aunt and abused her on two occasions while VICTIM #l
visited. VICTIM #1 reported that THOMPSON woke her up and flipped her onto her
back before inserting his fingers inside of her “privates” and specifically described

something “gushing” out of her vaginal area during the abuse that is believed to be lotion.

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Seven-year-old VICTIM #2 is VICTIM #1’s cousin VICTIM #2 disclosed that
THOMPSON rubbed lotion on the “lips” of her “vagina” during sleep over visits on
numerous occasions. THOMPSON is currently classified as a level 2 sex offender and is
on active supervision with the Department of Corrections. Pursuant to the conditions of
sentence, THOMPSON was ordered to enter into sexual deviancy treatment, to have no
contact with minors, and not to possess sexually explicit material.

13. On November 7, 2018, Det. Faivre was granted a Pierce County Superior
Court Search Warrant by the Honorable Judge Orlando for the imaging and subsequent
forensic examination of the Samsung phone seized by PPO Newbold.

14. On the evening of November 7, 2018, Det. Faivre and Det. Yglesias went
to the Crossland Hotel at 8801 S. Hosmer Ave Room #329 to verify THOMPSON
resided there and to determine if there were children present. THOMPSON was not
home at the time, however, his wife, Nyeesha Thompson, confirmed the hotel was their
current residence

15. On November 8, 2018, TPD Det. Reda began the Cellebrite examination of
the Samsung cell phone The initial extraction information provided a mobile number of
(253) 448-0887, which is the telephone number THOMPSON provided to DOC
Corrections Officer Vilela at his last check-in This phone number was also associated
with THOMPSON during a Computer Aided Dispatch search. There were also multiple
selfie-style photos on the phone that depict THOMPSON. Det. Faivre reviewed several
Of the files recovered during the examination and observed an image described as n
follows:

Image 1: The image depicts a small black female child, who appears to be asleep.
The left side of the child’s face is exposed to the camera. There appears to be a
section of hair that is resting above her right eye, and she is Wearing a pink shirt
with black writing on the upper left-hand corner. The word “The” can be seen with
the second word appearing to begin with the letter S. Resting up against the child’s
nose and lips is a black adult male’S penis. The male’s forefinger of his left hand is
depicted holding the penis against the child’s face. The male’s face is not depicted

in the photograph.
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16. - 1 have reviewed this image and concur with Det. Faivre’s description The
child depicted in the photo appears to be under the age of ten

17. Additionally, Det. Faivre located three other images of what appears to be a
female child being sexually exploited. The photos are described as follows:

Image 2: This image depicts a black female child lying on her back with
something pink underneath her. The child is wearing white underwear that is being
pulled to the side by an adult black male’s left hand, exposing the child’s vaginal
area to the camera. The male depicted in the image is wearing a distinctive silver
colored wedding band with diamonds across the center. The child does appear to
have a few strands of pubic hair on the inside of the vagina, but there does not
appear to be any hair present on the outside of the vagina, legs, or any other
indication of follicular development No other part of the child is depicted.

Image 3: This image depicts the vaginal area of a black female child, who is
lying on top of a piece of fabric that is pink with black stripes. The camera is
focused on the child’s vagina, which is being spread open by what appears to be
the fore and middle finger of an adult black male The male’s fingernails are long
and have a dark substance underneath them. The female in this photograph has
slight pubic hair on the outside of the vagina, but the rest of her genital area
appears to be pre-pubescent.

Image 4: v This image depicts an apparent black minor female wearing a red shirt.
The shirt is being pulled up to expose the bare chest of the minor. The shirt is
` being held up by a black male, wearing the same wedding ring as described above

The exposed chest area reveals a small brown nipple that appears to be the left

breast of the female The breast area looks under developed, and the areola is

small.

18. 1 have reviewed the above-described images and agree with Det. Faivre’s
descriptions

19. Metadata associated with Images 1-4 show that they were taken with an
Apple iPhone 7 on May 27, 2018, between 12:09 and 12:15 a.m. Associated GPS
coordinates show they were created in the vicinity of an address in Tacoma, Washington,
At this time, the location of the iPhone 7 responsible for producing the sexual
exploitation images of the minor black female child(ren) depicted in the images described

above remains unknown

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l 20. On November 8, 2018, Det. Faivre contacted Washington Department of
(;:orrections (DOC) Officer VILELA concerning THOMPSON’s violations of conditions
of sentence and evidence of violations of RCW 9.68A.070 Possession of Depictions of
Minors Engaged in Sexually Explicit Conduct and RCW 9.68A.040 Sexual Exploitation
of a Minor and to seek assistance in identifying minors to whom THOMPSON may have
access. Shortly thereafter, DOC Officer VILEA advised that DOC planned to arrest
THOMPSON that afternoon for violation of his sentence

21. Later that day, DOC Officer VILELA provided a photo of THOMPSON’s
left ring finger in depicting a ring matching the ring observed in two of the three photos
depicting sexual exploitation of a minor described above DOC Officer VILELA
collected the ring as evidence and advised Det. Faivre that THOMPSON had another cell
phone on his person at the time of arrest, which Was taken into evidence THOMPSON
Was booked into the King County Jail pending violations of sentence

22. Because three of the above-mentioned images depicted early stages of
development, Det. Faivre consulted with Dr. Elizabeth Woods at the Child Abuse
Intervention Department (CAID) with MultiCare to assist in determining age on the
female depicted. Det. Faivre provided several of the above-described images to Dr.
Woods, who determined the depicted females lacked sexual maturation. Dr. Woods
further explained that in the vaginal area, although there was a presence of pubic hair,
What was lacking was an obvious “estroginated” darkening in the tissue in the vaginal
area that is normally present in post pubescent females and a lack of follicular
development present. Dr. Woods estimated the depicted female child(ren) were
approximately 12-14 years old, and noted the estimation “generous,” stating that it was
entirely possible that if she were able to see more of the child, that she could be younger.
Dr. Woods reviewed the image of the exposed breast and noted beginning signs of tissue
development and definition the nipple area of the breast appeared to be smaller, and that
it did not appear to be raised at all from the tissue Dr. Woods provided the same age

approximation of 12-14, based on what was visible from the pictures.

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23. Det. Faivre then followed up with THOMPSON’s former employer and
original reporting party at McFarland Cascade regarding the address that he provided for
THOMPSON in the original police report. The address given was SUBJECT ADDRESS‘
in Tacoma. M.D. confirmed that this was the address that THOMPSON provided to him
during new employee orientation around May or June of this year.

24. Det. Faivre used a law enforcement database to run the address of
SUBJECT ADDRESS in Tacoma to see who was listed as the current resident. Det.
Faivre was provided with a name of H.S., and also noted that the same law enforcement
database showed that address as being THOMPSON’s from March 2018 until September
2018. As noted above, the metadata recovered from Images 1-4 show they were all
created within a six-minute window on May 27, 2018, with the same model Apple iPhone
and had geolocation data suggesting they were created near SUBIECT ADDRESS in
Tacoma.

' 25. Det. Faivre conducted a Global History search on H.S. and located a
Tacoma Police report from September 12, 2018, documenting an incident report where
H.S.’s minor daughter disclosed to a hospital CPS worker that she had been
“consistently” molested by a family friend, who was referred to only as “uncle” from the
time she was four until she was fourteen Notably, THOMPSON was referred to as
“uncle” by VICTIM #1 from his 2014 Child Molestation conviction

26. TPD Det. J osh McKenzie made numerous attempts to contact the 2018
victim through her parents and was advised that she did not wish to cooperate with an
investigation or submit to a forensic interview. The case was then cleared as unfounded

27. Gn November 15, 2018, Det. Faivre obtained search warrants from King
County Superior Court for THOMPSON’s cell phone that was on his person at the time

of his arrest, his residence at the Crossland Hotel, his person and his Google accounts.

 

" 1 am aware of the exact address referenced herein and referred to throughout as “SUBJECT ADDRESS in
Tacoma.” The specific street name and number will not be used to protect the privacy of minor(s).
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28. On November 14, 2018, Det. Faivre and Det. Yglesias went to SUBJECT
ADDRESS in Tacoma and met with H.S. and his two minor daughters, L.S. and MVl.
Det. Faivre immediately recognized l\/IVl as the child in Image 1. H.S. was shown the
above photo, which had been sanitized, to see if he could identify the child, He thought it
looked like MVl but was not absolutely sure He then called his older daughter, L.S., to
examine the image, and she immediately recognized the child as MVl.

29. L.S. identified the child in the above image as her younger sister, MVl, an
eight_-year-old female and H.S.’s daughter.` L.S. also recognized the shirt MVl was
wearing in the photo and brought the detectives to the bedroom she shares with MVl and
retrieved it from the laundry bin

30. While Det. Faivre was in the bedroom, she noticed that the bedding on one
of the beds, including a pillow case and body pillow, were of the same patterns as those
visible in the images described above recovered from THOMPSON’s phone

31. Asked if THOMPSON ever lived at the SUBJECT ADDRESS in Tacoma,
H.S. said he did not but stated that he visited frequently. H.S. also said that he did not
believe THC)MPSON ever stayed overnight

32. On November 15, 2018, Det. Faivre, Det. Yglesias, and 1 went back to
SUBIECT ADDRESS in Tacoma and met with K.W, MVl ’s mother. She was shown a
sanitized version of the first described image She immediately began to cry and said
“yes, that’s my baby,” referring to MV]. Asked if THOMPSON had resided at
SUBIECT ADDRESS in Tacoma, K.W. stated she did not believe he had lived there but
said he did come to visit. K.W. noted that over the preceding months, she was in and out
of the hospital and therefore could not say whether THOMPSON had ever stayed the
night between May and September 2018.

33. On November 21, 2018, 1 went to the King County Jail and took photos of
THOMPSON’s hands, pursuant to the King County Superior Search Warrant.

34. On November 23, 2018, 1 reviewed the adult hand in Image 2 and
compared it to the known photos that 1 had taken of THOMPSON’s hands and identified

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several similarities 1 noticed that in the known photo, THGMPSON has a dark spot on
the right side of his left index finger near the first knuckle This spot is also visible in the
same location on the index finger in Image 2. Further, the lines in the second knuckle of
the left middle finger in the known photo appear to match the lines in the second knuckle
of the left middle finger in Image 2.

35. 1 compared the adult hand in Image 3 photograph described above and
noticed that what appears to be the left index finger in the photo has the same dark spot in
the same location as the left index finger in the known photo of THOMPSON’s left hand.

36. As part of my investigation 1 obtained recorded jail calls made by
THOMPSON to his Wife, Nyeesha Thompson. 1 have listened to several of those
recordings and summarize relevant information contained in two of them below (Note
that these calls were made from another inmate’s account, but the parties speaking are
THPMSON and his wife.)

11/15/18 @ 18:23:19: THOMPSON’s wife explains to him that the detectives
searched their hotel room with a search warrant THOMPSON asks if they found
anything, and she says, “old phones and a laptop”. THOMSPON responds, “1 am
cooked!” THOMPSON then asks his wife to read what the police seized from the
warrant inventory, and she reads off the items taken during the search warrant As
she lists various digital devices, THOMPSTON replies, “oh, yea, they got me!”
She continues and he interjects, “oh, yea. They got me They got it all. 1 got stuff
on there. .. to be honest with you right now, 1 got stuff on there” THCMPSON
then responds to a question from his wife with, “oh, yea! When I say I’m cooked, '
I’m like a roasted duck!” Later in the conversation THOMPSON says, “Those
flash drives are enough to put me away forever.”

11/15/18 @ 20:16:29: During the call, THMPSON says, “Look, there’s a lot more
that you’re going to find out, and I’d rather it come from me before you find out. 1
have done things for years. Those hard drives it is not going to be pretty when
it comes out. There’s probably over 150 different things on there.” Later in the
call, THOMPSON says, “That stuff is really, mostly old, nothing is new. But the
fact of the matter is that 1 still had it.”

37. On November 20, 2018, Det. Faivre and 1 conducted a recorded interview

of Nyeesha Thompson. During the interview, Nyeesha Thompson provided me with

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three blue thumb drives that were missed by investigators during the search of her and
THOMPSON’s hotel room on November 15, 2018. Nyeesha Thompson said the thumb
drives were located in the side pocket of a blue duffel bag that belonged to THOMPSON.
She said the thumb drives belong THOMPSON. 1 booked the thumb drives in to
evidence at the HSI office in Tacoma, WA.

38. During the same interview, Nyeesha Thompson said she had previously
pawned a laptop computer that belonged to THOMPSON. On November 21, 2018, Det.
Faivre recovered the laptop she pawned from Cash America Pawn in Tacoma, WA, and 1
took custody of the laptop on November 27, 2018, and booked it in to evidence at the
HSI office in Tacoma, WA.

39. A subsequent search warrant was requested and granted to search the three
thumb drives and laptop.

40. On December 6, 2018, Det. Faivre and 1 met with a juvenile witness (JWl),
for an interview. 1 Wl handed me SUBJECT DEVICES 1-2, unserved copies of a
Petition for Order for Protection and Temporary Grder for Protection and Notice of
Hearing listing Nyeesha Thompson as the Petitioner and LAMAR THOMPSON as the
respondent, and a hand-written letter from LAMAR THOMPSON to Nyeesha Thompson.
1W1 said her father, H.S., received the items from Nyeesha Thompson and told her to
give th_em to me 1 later verified this information with H.S. and Nyeesha Thompson.
After the interview, 1 booked SUBJECT DEVICES 1-2 in to evidence at the HSI office in
Tacoma, WA.

y 41. Nyeesha Thompson told me she found SUBJECT DEVICES 1-2 in her
hotel room as she has been cleaning up preparing to move out of the hotel. She said
SUBJECT DEVICES 1-2 belonged to THOMPSON. She said the letter was sent to her

by THOMPSON while he was incarcerated in the King County 1 ail.

42. Nyeesha Thompson also said that she obtained the Petition for Order for
Protection and Temporary Order for Protection and Notice of Hearing, but it had not been
served on THOMPSON SA Acala served the orders on THOMPSON on December 13,

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2018, and filed the return of service with the Pierce County Clerk’s Office. That same
day, THOMPSON made his initial appearance in Tacoma on a federal criminal complaint
charging him with production of child pornography in violation of 18 U.S.C. § 2251(a) in
Cause No. M118-5270..

43. Nyeesha Thompson told me that LAMAR THOMPSON has a storage unit
with Public Storage She did not know the address but said the unit number was A043.
Nyeesha Thompson said that she has some furniture and clothing items in the storage
unit, but most of the contents belong to LAMAR THOMPSON, including documents,
computers, and other electronic devices. Nyeesha Thompson said she does not have
access to the unit, and it is scheduled for public auction on December 20, 2018, due to
nonpayment of the rent.

44. On December 17, 2018, 1 served an HSI Summons on Public Storage
requesting information on any units rented by LAMAR THOMPSON. Management
confirmed that Unit #A043 at 4103 S. Orchard St., Tacoma, WA, SUBJECT
LOCATION, was rented by THOMPSON.

VI. TECHNICAL BACKGROUND

45. Based on my training and experience and information provided to me by
computer forensic agents, 1 know that data can quickly and easily be transferred from one
digital device to another digital device Data can be transferred from computers or other
digital devices to internal and/or external hard drives, tablets, mobile phones, and other
mobile devices via a USB cable or other wired connection Data can also be transferred
between computers and digital devices by copying data to small, portable data storage
devices including USB (often referred to as “thumb”) drives, memory cards (Compact
Flash, SD, microSD, etc.) and memory card readers, and optical discs (CDs/DVDS).

46. As outlined above, residential Internet users can simultaneously access the
Internet in their homes with multiple digital devices. Also explained above is how data
can quickly and easily be transferred from one digital device to another through the use

of Wired connections (hard drives, tablets, mobile phones, etc.) and portable storage

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devices (USB drives, memory cards, optical discs). Therefore, a user could access the
Internet using their assigned public IP address, receive, transfer or download data, and
then transfer that data to other digital devices which may or may not have been connected
to the Internet during the date and time of the specified transaction

47. Based on my training and experience, 1 have learned that the computer's
ability to store images and videos in digital form makes the computer itself an ideal
repository for child pornography. The size of hard drives used in computers (and other
digital devices) has grown tremendously within the last several years. Hard drives with
the capacity of four (4) terabytes (TB) are not uncommon These drives can store
thousands of images and videos at very high resolution

48. Based on my training and experience collectors and distributors of child
pornography also use online resources to retrieve and store child pornography, including
services offered by companies such as Google, Yahoo, Apple, and Dropbox, among
others. The online services allow a user to set up an account with a remote computing
service that provides email services and/or electronic storage of computer files in any
variety of formats. A user can set up an online storage account from any computer with
access to the Internet. Evidence of such online storage of child pornography is often
found on the user's computer. Even in cases where online storage is used, however,
evidence of child.pornography can be found on the user’s computer in most cases.

49. As is the case with most digital technology, communications by way of
computer can be saved or stored on the computer used for these purposes. Storing this
information can be intentional, i.e, by saving an email as a file on the computer or saving
the location of one‘s favorite websites in for example, "bookmarked" files. Digital
information can also be retained unintentionally, e.g., traces of the path of an electronic
communication may be automatically stored in many places (e.g., temporary files or ISP
client software, among others). In addition to electronic communications, a computer
user's Internet activities generally leave traces or "footprints" and history files of the

browser application used. A forensic examiner often can recover evidence suggesting

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whether a computer contains wireless software and when certain files under investigation
were uploaded or downloaded. Such information is often maintained indefinitely until
overwritten by other data.

50. Based on my training and experience 1 have learned that producers of child
pornography can produce image and video digital files from the average digital camera,
mobile phone or tablet. These files can then be transferred from the mobile device to a
computer or other digital device using the various methods described above The digital
files can then be stored, manipulated, transferred, or printed directly from a computer or
other digital device Digital files can also be edited in ways similar to those by which a
photograph may be altered; they can be lightened, darkened, cropped, or otherwise
manipulated. As a result of this technology, it is relatively inexpensive and technically
easy to produce store and distribute child pornography. In addition there is an added
benefit to the child pornographer in that this method of production is a difficult trail for
law enforcement to follow.

51. As part of my training and experience 1 have become familiar with the
structure of the Internet, and 1 know that connections between computers on the Internet
routinely cross state and international borders, even when the computers communicating
with each other are in the same state Individuals and entities use the Internet to gain
access to a wide variety of information to send information to, and receive information
from, other individuals; to conduct commercial transactions; and to communicate via
email.

52. Based on my training and experience 1 know that cellular mobile phones
(often referred to as "smart phones") have the capability to access the Internet and store
information such as images and videos. As a result, an individual using a smart phone
can send, receive and store files, including child pornography, Without accessing a
personal computer or laptop. An individual using a smart phone can also easily connect
the device to a computer or other digital device via a USB or similar cable and transfer

data files from one digital device to another.

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53. As set forth herein and in Attachment B to this Affidavit, 1 seek permission
to search for and seize evidence fruits, and instrumentalities of the above-referenced
crimes that might be found on the SUBJECT DEVICES and in the SUBJECT
LOCATIGN in whatever form they are found. It has been my experience that individuals
involved in child pornography often prefer to store images of child pornography in
electronic form. The ability to store'images of child pornography in electronic form
makes digital devices, examples of which are enumerated in Attachment B to this
Affidavit, an ideal repository for child pornography because the images can be easily sent
or received over the Internet. As a result, one form in which these items may be found is
as electronic evidence stored on a digital device

54. Based upon my knowledge experience and training in child pornography
investigations, and the training and experience of other law enforcement officers With
whom 1 have had discussions, 1 know that there are certain characteristics common to
individuals who have a sexualized interest in children and depictions of children:

a. They may receive sexual gratification stimulation and satisfaction
from contact with children or from fantasies they may/have viewing children engaged in
sexual activity or in sexually suggestive poses, such as in person in photographs, or other
visual media; or from literature describing such activity.

b. They may collect sexually explicit or suggestive materials in a
variety of media, including photographs, magazines, motion pictures, videotapes, books,
slides, and/ or drawings or other visual media. Such individuals often times use these
materials for their own sexual arousal and gratification Further, they may use these
materials to lower the inhibitions of children they are attempting to seduce to arouse the
selected child partner, or to demonstrate the desired sexual acts. These individuals may
keep records, to include names, contact information and/or dates of these interactions, of
the children they have attempted to seduce arouse or with whom they have engaged in

the desired sexual acts.

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c. They often maintain any “hard copies” of child pomographic
material that is, their pictures, films, video tapes, magazines, negatives, photographs,
correspondence mailing lists, books, tape recordings, etc., in the privacy and security of
their horne or some other secure location These individuals typically retain these “hard
copies” of child pornographic material for many years, as they are highly valued.

d. Likewise they often maintain their child pornography collections
that are in a digital or electronic format in a safe secure and private environment, such as
a computer and surrounding area. These collections are often maintained for several
years and are kept close by, often at the individual’s residence or some otherwise easily
accessible location to enable the owner to view the collection which is valued highly.
They also may opt to store the contraband in cloud accounts. Cloud storage is a model of
data Storage where the digital data is stored in logical pools, the physical storage can span
multiple servers, and often locations, and the physical environment is typically owned
and managed by a hosting company. Cloud storage allows the offender ready access to
the material from any device that has an Internet connection worldwide while also
attempting to obfuscate or limit the criminality of possession as the material is stored
remotely and not on the offender’s device

e. They also may correspond with and/or meet others to share
information and materials; rarely destroy correspondence from other child pornography
distributors/collectors; conceal such correspondence as they do their sexually explicit
material; and often maintain lists of names, addresses, and telephone numbers of
individuals with whom they have been in contact and who share the same interests in
child pornography.`

` f. They generally prefer not to be without their child pornography for
any prolonged time period. This behavior has been documented by law enforcement
officers involved in the investigation of child pornography throughout the world.

g. E-mail itself provides a convenient means by which individuals can

access a collection of child pornography from any computer, at any location with Internet

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access. Such individuals therefore do not need to physically carry their collections with
them but rather can access them electronically. Furthermore these collections can be
stored on email “cloud” servers, which allow users to store a large amount of material at
no cost, without leaving any physical evidence on the users’ computer(s).

55. In addition to offenders who collect and store child pornography, law
enforcement has encountered offenders who obtain child pornography from the internet,
view the contents and subsequently delete the contraband, often after engaging in self-
gratification. In light of technological advancements, increasing Internet speeds and
worldwide availability of child sexual exploitative material, this phenomenon offers the
offender a sense of decreasing risk of being identified and/or apprehended With quantities
of contraband This type of consumer is commonly referred to as a ‘seek and delete’
offender, knowing that the same or different contraband satisfying their interests remain
easily discoverable and accessible online for future viewing and self-gratification 1
know that, regardless of whether a person discards or collects child pornography he/she
accesses for purposes of viewing and sexual gratification evidence of such activity is
likely to be found on computers and related digital devices, including storage media, used
by the person This evidence may include the files themselves, logs of account access
events, contact lists of others engaged in trafficking of child pornography, backup files,
and other electronic artifacts that may be forensically recoverable

56. Given the above-stated facts and based on my knowledge training and
experience along with my discussions with other law enforcement officers who
investigate child exploitation crimes, 1 believe that LAMAR THOMPSON likely has a
sexualized interest in children and depictions of children 1 therefore believe that
evidence of child pornography is likely to be found on the SUBJECT DEVICES and at
the SUBJECT LOCATION.

5 7. Based on my training and experience and that of computer forensic agents
that 1 work and collaborate with on a daily basis, 1 know that every type and kind of

information data, record, sound or image can exist and be present as electronically stored

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information on any of a variety of computers, computer systems, digital devices, and
other electronic storage media. 1 also know that electronic evidence can be moved easily
from one digital device to another.

58. Based on my training and experience and my consultation with computer
forensic agents who are familiar with searches of computers, I know that in some cases
the items set forth in Attachment B may take the form of files, documents, and other data
that is user- generated and found on a digital device. 1n othercases, these items may take

the form of other types of data - including in some cases data generated automatically by

’ the devices themselves

59. Based on my training and experience and my consultation with computer
forensic agents who are familiar with searches of computers, I believe there is probable
cause to believe that the items set forth in Attachment B will be stored in those digital
devices for a number of reasons, including but not limited to the following:

a. Once created, electronically stored information (ESI) can be stored
for years in very little space and at little or no cost. A great deal of ESI is created, and
stored, moreover, even without a conscious act on the part of the device operator. For
example files that have been viewed via the Internet are sometimes automatically
downloaded into a temporary Internet directory or "cache" without the knowledge of the
device user. The browser often maintains a fixed amount of hard drive space devoted to
these files, and the files are only overwritten as they arereplaced with more recently
viewed Internet pages or if a user takes affirmative steps to delete them. This ESI may
include relevant and significant evidence regarding criminal activities, but also, and just
as importantly, may include evidence of the identity of the device user, and when and
how the device was used. Most often, some affirmative action is necessary to delete ESI.
And even when such action has been deliberately taken, ESI can often be recovered,
months or even years later, using forensic tools.

b. Wholly apart from data created directly (or indirectly) by user-

generated files, digital devices - in particular, a computer's internal hard drive - contain

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electronic evidence of how a digital device has been used, what is has been used for, and
who has used it. This evidence can take the form of operating system configurations,
artifacts from operating systems or application operations, file system data structures, and
virtual memory "swap" or paging files Computer users typically do not erase or delete
this evidence because special software is typically required for that task. However, it is
technically possible for a user to use such specialized software to delete this type of
information - and, the use of such special software may itself result in ESI that is relevant
to the criminal investigation HSI agents in this case have consulted on computer
forensic matters with law enforcement officers with specialized knowledge and training
in computers, networks, and Internet communications 1n particular, to properly retrieve _
and analyze electronically stored (computer) data, and to ensure accuracy and
completeness of such data and to prevent loss of the data either from accidental or
programmed destruction, it is necessary to conduct a forensic examination of the
computers To affect such accuracy and completeness it may also be necessary to
analyze not only data storage devices, but also peripheral devices which may be
interdependent, the software to operate them, and related instruction manuals containing
directions concerning operation of the computer and software.
VII. SEARCH AND/OR SEIZURE OF DIGITAL DEVICES

60. In addition, based on my training and experience and that of computer
forensic agents that 1 work and collaborate with on a daily basis, 1 know that in most
cases it is impossible to successfully conduct a complete accurate and reliable search for
electronic evidence stored on a digital device during the physical search of a search site
for a number of reasons, including but not limited to the following:

a. Technical Requirements: Searching digital devices for criminal
evidence is a highly technical process requiring specific expertise and a properly
controlled environment, The vast array of digital hardware and software available
requires even digital experts to specialize in particular systems and applications so it is

difficult to know before a search which expert is qualified to analyze the particular

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system(s) and electronic evidence found at a search site. As a result, it is not always
possible to bring to the search site all of the necessary personnel, technical manuals, and
specialized equipment to conduct a thorough search of every possible digital
device/system present. In addition, electronic evidence search protocols are exacting
scientific procedures designed to protect the integrity of the evidence and to recover even
hidden, erased, compressed, password-protected, or encrypted files Since ESI is
extremely vulnerable to inadvertent or intentional modification or destruction (both from
external sources or from destructive code embedded in the system such as a "booby
trap"), a controlled environment is often essential to ensure its complete and accurate
analysis

b. Volume of Evidence: The volume of data stored on many digital
devices is typically so large that it is impossible to search for criminal evidence in a
reasonable period of time during the execution of the physical search of a search site. A
single megabyte of storage space is the equivalent of 500 double-spaced pages of text. A
single gigabyte of storage space or l,O()O megabytes, is the equivalent of 500,000 v
double-spaced pages of text. Computer hard drives are now being sold for personal
computers capable of storing up to four terabytes (4,000 gigabytes of data.) Additionally,
this data may be stored in a variety of formats or may be encrypted (several new
commercially available operating systems provide for automatic encryption of data upon
shutdown of the computer).

c. Search Techniques: Searching the ESI for the items described in
Attachment B may require a range of data analysis techniques In some cases, it is
possible for agents and analysts to conduct carefully targeted searches that can locate
evidence without requiring a time-consuming manual search through .unrelated materials
that may be commingled with criminal evidence, In other cases, however, such
techniques may not yield the evidence described in the warrant, and law enforcement

personnel with appropriate expertise may need to conduct more extensive searches, such

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as scanning areas of the disk not allocated to listed files or peruse every file briefly to
determine whether it falls within the scope of the warrant.

61. Based on the foregoing, and consistent with Rule 4l(e)(2)(B) of the Federal
Rules of Criminal Procedure the warrant 1 am applying for will permit imaging or
otherwise copying all data contained on the SUBJECT DEVICES or any digital devices
found at th eSUBJECT LOCATION and will specifically authorize a review of the media
or information consistent with the warrant.

62. In accordance with the information in this affidavit, law enforcement
personnel will execute the search of the SUBJECT DEVICES and digital devices found
at the SUBJECT LOCATION pursuant to this warrant as follows:

63. Securing the Data: In order to examine the ESI in a forensically sound
manner, law enforcement personnel with appropriate expertise will attempt to produce a
complete forensic image if possible and appropriate of the SUBJECT DEVICES or any
digital devices located in the SUBJECT LOCATION. Law enforcement will only create
an image of data physically present on or within the device. Creating an image of the
digital device will not result in access to any data physically located elsewhere
However, devices that have previously connected to devices at other locations may
contain data from those other locations

64. Searching the Forensic Images: Searching the forensic images for the items
described in Attachment B may require a range of data analysis techniques In some
cases, it is possible for agents and analysts to conduct carefully targeted searches that can
locate evidence without requiring a time-consuming manual search through unrelated
materials that may be commingled with criminal evidence 1n other cases, however, such
techniques may not yield the evidence described in the warrant, and law enforcement
may need to conduct more extensive searches to locate evidence that falls within the
scope of the warrant. The search techniques that will be used will be only those

methodologies techniques and protocols as may reasonably be expected to find, identify,

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segregate and/or duplicate the items authorized to be seized pursuant to Attachment B to

this affidavit
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VIII. CONCLUSION

65. Based on the foregoing, 1 believe there is probable cause that evidence
fruits, and instrumentalities of violations of 18 U.S.C. § 2251(a) .(Production of Child
Pornography), and 18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pornography), are
located on/in the SUBJECT DEVICES and the SUBJECT LOCATION as more fully
described in Attachment A to this Affidavit, I therefore request that the court issue a
warrant authorizing a search of the SUBJECT DEVICES and the SUBJECT LOCATION
specified in Attachment A for the items more fully described in Attachment B.

/Reese 136 , Affiant
Special Agent
Department of Homeland Security

Homeland Security 1nvestigations

SUBSCRIBED and SWORN to before me this 19th day of December, 2018.

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THERESA L. FRICKE \/
United States Magistrate Judge

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ATTACHMENT A
Description of Property to be Searched
The SUBJECT DEVICES, more particularly described below, which are currently
in the custody of Homeland Security Investigations in Tacoma, Washington:
a. Western Digital HDD 160 GB, SN: WX50A5907905 (SUBJECT
DEVICE 1) g
b. MicroSD Card, 64 GB (SUBIECT DEVICE 2)

The SUBJECT LOCATION is a storage unit rented by LAMAR THOMPSON at
Public Storage _ 4103 S. Orchard St., Tacoma, Washington (Unit # A043). The search

is to include the entirety of that storage unit, as well as any digital devices found therein.

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ITEMS TO BE SEIZED

The following records documents files or materials in whatever form, including
handmade or mechanical form (such as printed, written, handwritten, or typed),
photocopies or other photographic form, and electrical, electronic, and magnetic form
(such as CDs, DVDs smart cards thumb drives camera memory cards electronic
notebooks or any other storage medium), that constitute evidence instrumentalities or
fruits of violations of of violations of 18 U.S.C. § 2251(a) (Production of Child
Pornography), and 18 U.S.C. § 2252(a)(4)(B) (Possession of Child Pomography) which
may be found on the SUBJECT DEVICES or at the SUBIECT LOCATION:

1. Any visual depiction of minor(s) engaged in sexually explicit conduct, in
any format or media or other evidence of the creation of such visual depictions

2. Evidence of the installation and use of P2P software and any associated
logs saved user names and passwords, shared files and browsing history;

3. Letters e-mail, text messages and other correspondence identifying
persons transmitting child pornography, or evidencing the transmission of child
pornography, through interstate or foreign commerce including by mail or by computer;

4. All invoices purchase agreements catalogs canceled checks money order
receipts credit card statements or other documents pertaining to the transportation or
purchasing of images of minors engaged in sexually explicit conduct;

5. Any and all address books names lists of names telephone numbers and
addresses of individuals engaged in the transfer, exchange or sale of child pornography;

6. Any non-digital recording devices and non-digital media capable of storing
images and videos.

7. Digital devices and/ or their components which include but are not limited
to:

a. Any digital devices and storage device capable of being used to

commit, further, or store evidence of the offense listed above

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b. Any digital devices used to facilitate the transmission, creation,
display, encoding or storage of data, including word processing equipment, modems
docking stations monitors cameras printers encryption devices and optical scanners;

c. Any magnetic, electronic, or optical storage device capable of
storing data, such as disks tapes CD-ROMs, CD-Rs, CD-RWs, DVDs printer or
memory buffers smart cards PC cards memory sticks flashdrives USB/thumb drives
camera memory cards media cards electronic notebooks and personal digital assistants

d. Any documentation, operating logs and reference manuals regarding
the operation of the digital device or software

e. Any applications utility programs compilers interpreters and other
software used to facilitate direct or indirect communication with the computer hardware
storage devices or data to be searched;

f. Any physical keys encryption devices dongles and similar physical
items that are necessary to gain access to the computer equipment, storage devices or
data; and

g. Any passwords password files test keys encryption codes or other
information necessary to access the computer equipment, storage devices or data;

8. Evidence of who used, owned or controlled any seized digital device(s) at
the time the things described in this warrant were created, edited, or deleted, such as logs
registry entries saved user names and passwords documents and browsing history;

9§ Evidence of malware that would allow others to control any seized digital
device(s) such as viruses Trojan horses and other forms of malicious software as well
as evidence of the presence or absence of security software designed to detect malware;
as well as evidence of the lack of such malware;

10. Evidence of the attachment to the digital device(s) of other storage devices
or similar containers for electronic evidence;

11. Evidence of counter-forensic programs (and associated data) that are

designed to eliminate data from a digital device;

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12. Evidence of times the digital device(s) was used;
13. Any other ESI from the digital device(s) necessary to understand how the
digital device was used, the purpose of its use who used it, and when.
14. Records and things evidencing the use of the IP address 73.53.83.83 (the
SUBJECT 1P ADDRESS) including:
a. Routers modems and network equipment used to connect
computers to the Internet; v
b. Records of Internet Protocol (IP) addresses used;
c. Records of Internet activity, including firewall logs caches, browser
history and cookies “bookmarked” or “favorite” web pages search terms that the user

entered into any Internet search engine and records of user-typed web addresses

The seizure of digital devices and/or their components as set forth herein is
specifically authorized by this search warrant, not only to the extent that such
digital devices constitute instrumentalities of the criminal activity described above,
but also for the purpose of the conducting off-site examinations of their contents for
evidence, instrumentalities or fruits of the aforementioned crimes

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